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NOTE

10/20/2010 MERRITTISLAND __, _ FLORIDA
[Date] [City] [State]

6760 ALARKA RD BRYSON CITY, NC 28713
[Property Address]

1, BORROWER’S PROMISE TO PAY

In return for a loan that 1 have received, | promise to pay U.S. $ 530,000.00 (this amount is called “Principal”},
plus interest, to the order of the Lender. The Lender is KENNEY SPACE CENTER FCU
« 1 will make all payments

 

under this Note in the form of cash, check or money order.
I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the “Note Holder,”

2 INTEREST
Interest will be charged on unpaid principal until the full amount of Principal has been paid. | will pay interest at a yearly
rate of 4.375 %

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B)
of this Note.

3%. PAYMENTS

(A) Time and Pince of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the EST day of each month beginning on 12/01/2016 . Twill
make these payments every month until 1 have paid all of the principal and interest and any other charges described below that
I may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest
before Principal. if, on 11/01/2040 , [still owe amounts under this Nate, I will pay those
amounts in full on that date, which is calied the “Maturity Date.”

I will make my monthly payments at 300 S. PLUMOSA ST MERRITT ISLAND, FL 32952
or at a different place if required by the Note Hoider.

 

(B) Amount of Monthly Payments

My monthly payment will be in the amount of U.S, 3 2,646.21
4. BORROWER'S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment.” When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment as @ Prepayment if] have not made ail the monthly payments due under the Note.

I may make a full Prepayment or partiai Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amoust of Principal that | owe under this Note, However, the Note Holder may apply my Prepayment
to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of
the Note. If | make a partial Prepayment, there wili be no changes in the due date or in the amount of my monthly payment unless
the Note Holder agrees in writing to those changes,

& LOAN CHARGES

Ha law, which applies to this loan and which sets maximum foan charges, is finally interpreted so that the interest ar other
loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (1} any such loan charge
shall be reduced by the amount necessary to reduce the charge to. the permitted limit; and (ii) any sums already collected from me
which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal 1 owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treated
as 3 partial Prepayment.

COMPOSITE EXHIBIT A

MULTISTATE FIXED RATE NOTE--Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT FORM 3260 VOL (page / of 3 pages}
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i. BORROWER'S FAILURE TO PAY AS REQUIRED

{A} Late Charge for Overdue Payments

if the Note Holder has not received the full amount of any monthiy payment by the end of i§ calendar days after
the date it is due, | will pay a late charge to the Note Holder. The amount of the charge will be 5.00 % of my overdue payment
of principal and interest. [ will pay this late charge promptly but only once on each late payment.

{B) Defauit

If I do not pay the fall amount of each monthly payment on the date it is due, I will be in default.

(C) Notice of Default

If} am in default, the Note Holder may send me a written notice telling me that if ] do not pay the overdue amount by a certain
date, the Note Holder may require me to pay immediately the full amount of principal which has not been paid and ail the interest
that 1 owe on that amount, That date must be at least 30 days after the date on which the aotice is mailed to me or delivered by
other means.

(D) No Waiver By Note Holder

Even if, at a time when ] am in default, the Note Holder does not require me to pay immediately in full as described above,
the Note Hoider wil! still have the right to do so if 1 am in default at a later time.

(E) Payment of Note Holder’s Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be
paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicabte law. Those
expenses include, for example, reasonable attorneys’ fees.

Zz. GIVING OF NOTICES

Untess applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the Note
Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first class
mail to the Note Holder at the address stated in Section 3{A) above or at a different address if ] am given a notice of that different
address.

3. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person signs this Note, each person is fully and personally obligated to keep ail of the promises made in this
Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
obligated to do these things. Any person, who takes over ihese obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep ail of the promises made in this Note, The Note Holder may enforce its rights
under this Note against each person individually or against ail of us together. This means that any one of us may be required to
pay all of the amounts owed under this Note.

4. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due. “Notice of Dishonor” means the
right to require the Note Holder to give notice to other persons that amounts due have not been paid.

§. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the
Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the “Security Instrument”), dated the same date as this
Note, protects the Note Holder from possible losses which might result if ] da not keep the promises which ] make in this Note.
That Security Instrument describes how and under what conditions I may be required to make immediate payment in full of all
amounts | owe under this Note. Some of those conditions are described as follows:

If all or any part of the Property or any interest in the Property is soid or transferred (or if Borrower is not a-natural
person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
Tequire immediate payment in full of all sums secured by this Security Instrument, However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

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If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shail provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.

1. DOCUMENTARY TAX
The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness.

WITNESS THE HAND(S) AND SEAL{S} OF THE UNDERSIGNED

Jhb Ape 7

ROBERT J. GRIFFIN, AN UNMARRIED MAN, IN wpe AY ANIFAS TRYESTEE OF THE ROBERT J. GRIFFIN TRUST
DATED 12/28/1998-Borrower

(Seal)

- Borrower
(Seal)
- Borrower

{Sign Original Onty]

 

 

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FILED
SWAIN COUNTY NC
DIANA WILLIAMSON KIRKLAND

 

 

 

REGISTER OF DEEDS

After Recording Return To:
Kennedy Space Center F.C.U. PILED Oct 2 ' 201 0
300 S. Plumosa St. AT 04:47:47 pm
Merritt Island, FL, 32952 BOOK 00388
START PAGE 0486
END PAGE 0505
[Space Above This Line For Recording Data] INSTRUMENT # 01798
DEED OF TRUST EXCISE TAX (None)

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document
are also provided in Section 16.

(A) “Security Instrument” means this document, which is dated 10/20/2010, together with all
Riders to this document.

(B) “Borrower” is ROBERT J, GRIFFIN, AN UNMARRIED MAN, INDIVIDUALLY AND
AS TRUSTEE OF THE ROBERT J. GRIFFIN TRUST DATED 12/28/1998. Borrower(s) is
(are) the trustor(s) under this Security Instrument.

(C) “Lender” is Kennedy Space Center Federal Credit Union. Lender is an Organization
organized and existing under the laws of the State of Florida..Lender’s address is 300 S. Plumosa
St. Merritt Island, FL 32952. Lender is the beneficiary under this Security Instrument.
(D)“Trustee”is L. ALEXANDER VANCE

(it) “Note” means the promissory note signed by Borrower and dated. The Note states that
Borrower owes Lender Dollars (U.S. $530,000.00) plus interest. Borrower has promised to pay this
debt in regular Periodic Payments and to pay the debt in full not later than 11/01/2040.

(F) “Property” means the property that is described below under the heading “Transfer of Rights in
the Property.”

(G) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late
charges due under the Note, and all sums due under this Security Instrument, plus interest.

(H) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower [check box as applicable}:

O Adjustable Rate Rider
_ (1 Balloon Rider
{J 1-4 Family Rider

C? Condominium Rider X Second Home Rider
C) Planned Unit Development Rider Other(s) [specify]
{1 Biweekly Payment Rider

 

(D) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations,
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable
final, non-appealable judicial opinions,

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(J) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and
other charges that are imposed on Borrower or the Property by a condominium association,
homeowners association or similar organization.

(K) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated
by check, draft, or similar paper instrument, which is initiated through an electronic terminal,
telephonic instrament, computer, or magnetic tape so as to order, instruct, or authorize a financial
institution to debit or credit an account. Such term includes, but is not limited to, point-of-sale
transfers, automated teller machine transactions, transfers initiated by telephone, wire transfers, and
automated clearinghouse transfers,

{L) “Escrow Items” means those items that are described in Section 3.

(M) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or
proceeds paid by any third party (other than insurance proceeds paid under the coverages described
in Section 5) for: (i) damage to, or destruction of, the Property; (ii) condemnation or other taking of
all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations
of, or omissions as to, the value and/or condition of the Property.

(N) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or
default on, the Loan.

{O) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest
under the Note, plus (if) any amounts under Section 3 of this Security Instrument.

(P} “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time
to time, or any additional or successor legislation or regulation that governs the same subject matter.
As used in this Security Instrument, “RESPA” refers to all requirements and restrictions that are
imposed in regard to a “federally related mortgage loan” even if the Loan does not qualify as a
“federally related mortgage loan” under RESPA.

(Q) “Successor in Interest of Borrower” means any party that has taken title to the Property,
whether or not that party has assumed Borrower’s obligations under the Note and/or this Security
Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY
This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower’s covenants and

agreements under this Security Instrument and the Note. For this purpose, Borrower irrevocably
grants and conveys to Trustee and Trustee’s successors and assigns, in trust, with power of sale, the

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following described property located in the COUNTY of
{Type of Recording Jurisdiction]
SWAIN, NORTH CAROLINA
[Name of Recording Jurisdiction] See Exhibit A, attached hereto and made a part hereof

which currently has the address of 6760 Alarka Rd.

Bryson City, North Carolina 28713 (“Property Address”):
[City] [Zip Code]

TO HAVE AND TO HOLD this property unte Trustee and Trustee’s successors and assigns,
forever, together with all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the “Property.”

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed
and has the right to grant and convey the Property and that the Property is unencumbered, except for
encumbrances of record. Borrower warrants and will defend generally the title to the Property
against all claims and demands, subject to any encumbrances of record,

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
uniform covenants with limited variations by jurisdiction to constitute a uniform security instrument
covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late
Charges. Borrower shall pay when due the principal of, and interest on, the debt evidenced by the
Note and any prepayment charges and late charges due under the Note. Borrower shail also pay
funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
Instrument shall be made in U.S. currency. However, if any check or other instrument received by
Lender as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender
may require that any or all subsequent payments due under the Note and this Security Instrument be
made in one or more of the following forms, as selected by Lender: (a) cash; (b) money order;
(c) certified check, bank check, treasurer’s check or cashier’s check, provided any such check is
drawn upon an institution whose deposits are insured by a federal agency, instrumentality, or entity;
or (d) Electronic Funds Transfer.

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Payments are deemed received by Lender when received at the location designated in the
Note or at such other location as may be designated by Lender in accordance with the notice
provisions in Section 15. Lender may retum any payment or partial payment if the payment or
partial payments are insufficient to bring the Loan current. If Borrower has breached any covenant or
agreement in this Security Instrument and Lender has accelerated the obligations of Borrower
hereunder pursuant to Section 22 then Lender may accept any payment or partial payment
insufficient to bring the Loan current, without waiver of any rights hereunder or prejudice to its
rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply
such payments at the time such payments are accepted. If each Periodic Payment is applied as of its
scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such
unapplied funds until Borrower makes payment to bring the Loan current. If Borrower does not do
so within a reasonable period of time, Lender shall either apply such funds or return them to
Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance
under the Note immediately prior to foreclosure. No offset or claim which Borrower might have
now or in the future against Lender shall relieve Borrower from making payments due under the.
Note and this Security Instrument or performing the covenants and agreements secured by this
Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2,
all payments accepted and applied by Lender shall be applied in the following order of priority:
(a) interest due under the Note; (b) principal due under the Note: (c) amounts due under Section 3.
Such payments shall be applied to each Periodic Payment in the order in which it became due. Any
remaining amounts shail be applied first to late charges, second to any other amounts due under this
Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufficient amount to pay any late charge due, the payment may be applied to the
delinquent payment and the late charge. If more than one Periodic Payment is outstanding, Lender
may apply any payment received from Borrower to the repayment of the Periodic Payments if, and to
the extent that, each payment can be paid in full. To the extent that any excess exists after the
payment is applied to the full payment of one or more Periodic Payments, such excess may be
applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment
charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due
under the Note shall not extend or postpone the due date, or change the amount, of the Periodic
Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments
are due under the Note, until the Note is paid in full, a sum (the “Funds”) to provide for payment of
amounts due for: (a) taxes and assessments and other items which can attain priority over this
Security Instrument as a lien or encumbrance on the Property; (b) leasehold payments or ground rents
on the Property, if any; (c) premiums for any and all insurance required by Lender under Section 5;
and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to
Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of
Section 10. These items are called “Escrow Items.” At origination or at any time during the term of
the Loan, Lender may require that Community Association Dues, Fees, and Assessments, if any, be
escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower

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shall promptly furnish to Lender all notices of amounts to be paid under this Section. Borrower shall
pay Lender the Funds for Escrow Items unless Lender waives Borrower’s obligation to pay the Funds
for any or all Escrow Items, Lender may waive Borrower’ s obligation to pay to Lender Funds for
any or all Escrow Items at any time, Any such waiver may only be in writing. In the event of such
waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow Items
for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to
Lender receipts evidencing such payment within such time period as Lender may require, Borrower’s
obligation to make such payments and to provide receipts shall for all purposes be deemed ta be a
covenant and agreement contained in this Security Instrument, as the phrase “covenant and
agreement” is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a
waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights
under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to repay
to Lender any such amount, Lender may revoke the waiver as to any or all Escrow Items at any time
by @ notice given in accordance with Section 15 and, upon such revocation, Borrower shall pay to
Lender all Funds, and in such amounts, that are then required under this Section 3,

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender
to apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a
lender can require under RESPA, Lender shall estimate the amount of Funds due on the basis of
current data and reasonable estimates of expenditures of future Escrow Items or otherwise in
accordance with Applicable Law.

The Funds shali be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured)
or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later
than the time specified under RESPA. Lender shall not charge Borrower for holding and applying
the Funds, annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays
Borrower interest on the Funds and Applicable Law permits Lender to make such a charge. Unless
an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender
shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender
can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to
Borrower, without charge, an annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account
to Borrower for the excess funds in accordance with RESPA. If there isa shortage of Funds held in
escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and
Borrower shall pay to Lender the amount necessary to make up the shortage In accordance with
RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall
bay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but inno
more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly
refund to Borrower any Funds held by Lender,

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and
impositions attributable to the Property which can attain priority over this Security Instrument,
leasehold payments or ground rents on the Property, ifany, and Community Association Dues, Fees,

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and Assessments, if any. To the extent that these items are Escrow Items, Borrower shall pay them
in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument
unless Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a
manner acceptable to Lender, but only so long as Borrower is performing such agreement;
(b) contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings are
pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an
agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender
determines that any part of the Property is subject to a lien which can attain priority over this
Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the
date on which that notice is given, Borrower shall satisfy the lien or take one or more of the actions
set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter
erected on the Property insured against loss by fire, hazards included within the term “extended
coverage,” and any other hazards including, but not limited to, earthquakes and floods, for which
Lender requires insurance. This insurance shall be maintained in the amounts (including deductible
levels) and for the periods that Lender requires. What Lender requires pursuant to the preceding
sentences can change during the term of the Loan, The insurance carrier providing the insurance
shall be chosen by Borrower subject to Lender’s right to disapprove Borrower’s choice, which right
shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this
Loan, either: (a} a one-time charge for flood zone determination, certification and tracking services;
or (b} a one-time charge for flood zone determination and certification services and subsequent.
charges each time remappings or similar changes occur which reasonably might affect such
determination or certification. Borrower shall also be responsible for the payment of any fees
imposed by the Federal Emergency Management Agency in connection with the review of any flood
zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain
insurance coverage, at Lender’s option and Borrower’s expense. Lender is under no obli gation to
purchase any particular type or amount of coverage. Therefore, such coverage shall cover Lender,
but might or might not protect Borrower, Borrower's equity in the Property, or the contents of the
Property, against any risk, hazard or liability and might provide greater or lesser coverage than was
previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained
might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts
disbursed by Lender under this Section 5 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement
and shall be payable, with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to
Lender’s right to disapprove such policies, shall include a standard mortgage clause, and shall name
Lender as mortgagee and/or as an additional loss payee. Lender shall have the right to hold the
policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender all
receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance coverage,

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not otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall
include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
payee,

In the event of loss, Borrower shail give prompt notice to the insurance carrier and Lender.
Lender may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower
otherwise agree in writing, any insurance proceeds, whether or not the underlying insurance was
required by Lender, shall be applied to restoration or repair of the Property, ifthe restoration or repair
is economically feasible and Lender’s security is not lessened. During such repair and restoration
period, Lender shall have the right to hold such insurance proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender’s satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the
repairs and restoration in a single payment or in a series of progress payments as the work is
completed. Unless an agreement is made in writing or Applicable Law requires interest to be paid on
such insurance proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall not be
paid out of the insurance proceeds and shall be the sole obligation of Borrower. Ifthe restoration or
repair is not economically feasible or Lender’s security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for
in Section 2,

If Borrower abandons the Property, Lender may file, negotiate and settle any available
insurance claim and related matters. If Borrower does not respond within 30 days to a notice from
Lender that the insurance carrier has offered to settle a claim, then Lender may negotiate and settle
the claim. The 30-day period will begin when the notice is given. In either event, or if Lender
acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender
(a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower’s rights (other than the
right to any refund of unearned premiums paid by Borrower) under all insurance policies covering
the Property, insofar as such rights are applicable to the coverage of the Property. Lender may use
the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the
Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's
principal residence within 60 days after the execution of this Security Instrument and shall continue
to occupy the Property as Borrower’s principal residence for at least one year after the date of
occupancy, unless Lender otherwise agrees in writing, which consent shall not be unreasonably
withheld, or unless extenuating circumstances exist which are beyond Borrower’s control,

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower
shall not destroy, damage or impair the Property, allow the Property to deteriorate or commit waste
on the Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the
Property in order to prevent the Property from deteriorating or decreasing in value due to its
condition. Unless it is determined pursuant to Section 5 that repair or restoration is not economically
feasible, Borrower shail promptly repair the Property if damaged to avoid further deterioration or
damage. Ifinsurance or condemnation proceeds are paid in conection with damage to, or the taking
of, the Property, Borrower shail be responsible for repairing or restoring the Property only if Lender

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has released proceeds for such purposes. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is completed. If the
insurance or condemnation proceeds are not sufficient to repair or restore the Property, Borrower is
not relieved of Borrower’s obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it
has reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender
shall give Borrower notice at the time of or prior to such an interior inspection specifying such
reasonable cause,

8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan
application process, Borrower or any persons or entities acting at the direction of Borrower or with
Borrower’s knowledge or consent gave materially false, misleading, or inaccurate information or
statements to Lender (or failed to provide Lender with material information) in connection with the
Loan. Material representations include, but are not limited to, representations concerning Borrower’s
occupancy of the Property as Borrower’s principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this
Security Instrument, (b) there is a legal proceeding that might significantly affect Lender’s interest in
the Property and/or rights under this Security Instrument (such as a proceeding in bankruptcy,
probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority over this
Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property,
then Lender may do and pay for whatever is reasonable or appropriate to protect Lender’s interest in
the Property and rights under this Security Instrument, including protecting and/or assessing the
value of the Property, and securing and/or repairing the Property. Lender’s actions can include, but
are not limited to: (a) paying any sums secured by a lien which has priority over this Security
Instrument; (b) appearing in court; and (c) paying reasonable attorneys’ fees to protect its interest in
the Property and/or rights under this Security Instrument, including its secured position in a
bankruptcy proceeding. Securing the Property includes, butis not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes,
eliminate building or other code violations or dangerous conditions, and have utilities turned on or
off. Although Lender may take action under this Section 9, Lender does not have to do so andis not
under any duty or obligation to do so. Itis agreed that Lender incurs no liability for not taking any or
all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of
Borrower secured by this Security Instrument, These amounts shall bear interest at the Note rate
from the date of disbursement and shall be payable, with such interest, upon notice from Lender to
Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of
the lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge
unless Lender agrees to the merger in writing,

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of
making the Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in
effect. If, for any reason, the Mortgage Insurance coverage required by Lender ceases to be available
from the mortgage insurer that previously provided such insurance and Borrower was required to
make separately designated payments toward the premiums for Mortgage Insurance, Borrower shall

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pay the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance
previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage
Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If
substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue to
pay to Lender the amount of the separately designated payments that were due when the insurance
coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-
refundable loss reserve, if permitted under Applicable Law, in lieu of Mortgage Insurance. Such loss
reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and
Lender shall not be required to pay Borrower any interest or earnings on such loss reserve, if
permitted under Applicable Law. Lender can no longer require loss reserve payments if Mortgage
Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer
selected by Lender again becomes available, is obtained, and Lender requires separately designated
payments toward the premiums for Mortgage Insurance, If Lender required Mortgage Insurance as a
condition of making the Loan and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to maintain
Mortgage Insurance in effect, if permitted under Applicable Law, or to provide a non-refundable loss
reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written
agreement between Borrower and Lender providing for such termination or until termination is
required by Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay interest
at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain
losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the
Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time,
and may enter into agreements with other parties that share or modify their risk, or reduce losses.
These agreements are on terms and conditions that are satisfactory to the mortgage insurer and the
other party (or parties) to these agreements. These agreements may require the mortgage insurer to
make payments using any source of funds that the mortgage insurer may have available (which may
include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any
reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly)
amounts that derive from (or might be characterized as) a portion of Borrower’s payments for
Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer’s risk, or reducing
losses. If such agreement provides that an affiliate of Lender takes a share of the insurer’s risk in
exchange for a share of the premiums paid to the insurer, the arrangement is often termed “captive
reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay
for Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase
the amount Borrower will owe for Mortgage Insurance, and they will not entitle Borrower te
any refund,

({b) Any such agreements will not affect the rights Borrower has —if any — with respect
to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law,
These rights may include the right to receive certain disclosures, to request and obtain
cancellation of the Mortgage Insurance, to have the Mortgage Insurance terminated

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automatically, and/or to receive a refund of any Mortgage Insurance premiums that were
unearned at the time of such cancellation or termination.

11, Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
hereby assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or
repair of the Property, if the restoration or repair is economically feasible and Lender’s security is not
lessened. During such repair and restoration period, Lender shall have the right to hold such
Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender’s satisfaction, provided that such inspection shall be undertaken
promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of
progress payments as the work is completed. Unless an agreement is made in writing or Applicable
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
economically feasible or Lender’s security would be lessened, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if
any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided for in
Section 2.

In the event of'a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due,
with the excess, if any, paid to Borrower.

In the event ofa partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is
equal to or greater than the amount of the sums secured by this Security Instrument immediately
before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise apree in
writing, the sums secured by this Security Instrument shall be reduced by the amount of the
Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair
market value of the Property immediately before the partial taking, destruction, or loss in value. Any
balance shall be paid to Borrower.

In the event ofa partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is
less than the amount of the sums secured immediately before the partial taking, destruction, or loss in
value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for
damages, Borrower fails to respond to Lender within 30 days after the date the notice is given,
Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or repair of
the Property or to the sums secured by this Security Instrument, whether or not then due, “Opposing
Party” means the third party that owes Borrower Miscellaneous Proceeds or the party against whom
Borrower has a right of action in regard to Miscellaneous Proceeds.

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Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun
that, in Lender’s judgment, could result in forfeiture of the Property or other material impairment of
Lender’s interest in the Property or rights under this Security Instrument. Borrower can cure such a
default and, if acceleration has occurred, reinstate as provided in Section 19, by causing the action or
proceeding to be dismissed with a ruling that, in Lender’s jadgment, precludes forfeiture of the
Property or other material impairment of Lender’s interest in the Property or rights under this
Security Instrument. The proceeds of any award or claim for damages that are attributable to the
impairment of Lender’s interest in the Property are hereby assigned and shall. be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall
be applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the
time for payment or modification of amortization of the sums secured by this Security Instrument
granted by Lender to Borrower or any Successor in Interest of Borrower shall not operate to release
the liability of Borrower or any Successors in Interest of Borrower. Lender shall not be required to
commence proceedings against any Successor in Interest of Borrower or to refuse to extend time for
payment or otherwise modify amortization of the sums secured by this Security Instrument by reason
of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
forbearance by Lender in exercising any right. or remedy including, without limitation, Lender’s
acceptance of payments from third persons, entities or Successors in Interest of Borrower or in
amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right
or remedy,

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound, Borrower
covenants and agrees that Borrower’s obligations and liability shall be joint and several. However,
any Borrower who co-signs this Security Instrument but does not execute the Note (a “co-signer”):
(a) is co-signing this Security Instrument only to mortgage, grant and convey the co-signer’s interest
in the Property under the terms of this Security Instrument; (b) is not personally obligated to pay the
sums secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can
agree to extend, modify, forbear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower’s obligations under this Security Instrument in writing, and is approved by Lender, shall
obiain all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be
released from Borrower’s obligations and liability under this Security Instrument unless Lender
agrees to such release in writing. The covenants and agreements of this Security Instrument shall
bind (except as provided in Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges, Lender may charge Borrower fees for services performed in connection
with Borrower's default, for the purpose of protecting Lender’s interest in the Property and rights
under this Security Instrument, including, but not limited to, attorneys’ fees, property inspection and
valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finaily
interpreted so that the interest or other loan charges collected or to be collected in connection with

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the Loan exceed the permitted limits, then: (a) any such loan charge shail be reduced by the amount
necessary to reduce the charge to the permitted limit; and (6) any sums already collected from
Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose to
make this refund by reducing the principal owed under the Note or by making a direct payment to
Borrower. If arefund reduces principal, the reduction will be treated as a partial prepayment without
any prepayment charge (whether or not a prepayment charge is provided for under the Note).
Borrower's acceptance of any such refund made by direct payment to Borrower will constitute a
waiver of any right of action Borrower might have arising out of such overcharge.

18, Notices. All notices given by Borrower or Lender in connection with this Security
Instrument must be in writing. Any notice to Borrower in connection with this Security Instrument
shall be deemed to have been given to Borrower when mailed by first class mail or when actually
delivered to Borrower's notice address if sent by other means. Notice to any one Borrower shall
constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The notice
address shall be the Property Address unless Borrower has designated a substitute notice address by
notice to Lender. Borrower shall promptly notify Lender of Borrower’s change of address, If Lender
specifies a procedure for reporting Borrower’s change of address, then Borrower shall only
report a change of address through that specified procedure. There may be only one designated
notice address under this Security Instrument at any one time. Any notice to Lender shall be given
by delivering it or by mailing it by first class mail to Lender’s address stated herein unless Lender has
designated another address by notice to Borrower. Any notice in connection with this Security

_Instrument shail not be deemed to have been given to Lender until actually received by Lender. If
any notice required by this Security Instrument is also required under Applicable Law, the
Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall
be governed by federal law and the law of the jurisdiction in which the Property is located. All rights
and obligations contained in this Security Instrument are subject to any requirements and limitations
of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by
contract or it might be silent, but such silence shall not be construed as a prohibition against
agreement by contract, In the event that any provision or clause of this Security Instrument or the
Noie conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b) words in the singular shall
mean and include the plural and vice versa; and (c) the word “may” gives sole discretion without any
obligation to take any action,

17. Borrower’s Copy, Borrower shall be given one copy of the Note and of this Security
Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section
18, “Interest in the Property” means any legal or beneficial interest in the Property, including, but not
limited to, those beneficial interests transferred in a bond for deed, contract for deed, installment
sales contract or escrow agreement, the intent of which is the transfer of title by Borrower at a future
date to a purchaser.

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if all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender’s prior written consent, Lender may require immediate payment in full of all sums secured by
this Security Instrument. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shail provide a period of not less than 30 days from the date the notice is given in accordance with
Section 15 within which Borrower must pay all sums secured by this Security Instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower.

19, Borrower’s Right to Reinstate After Acceleration. if Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security Instrument
discontinued at any time prior to the earliest of: (a) five days before sale of the Property pursuant to
any power of sale contained in this Security Instrument; (b) such other period as Applicable Law
might specify for the termination of Borrower’s right to reinstate; or (c) entry of a judgment
enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums
which then would be due under this Security Instrument and the Note as if no acceleration had
occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses incurred
in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’ fees,
property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender’s
interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender
may reasonably require to assure that Lender’s interest in the Property and rights under this Security
Instrument, and Borrower’s obligation to pay the sums secured by this Security Instrument, shall
continue unchanged, Lender may require that Borrower pay such reinstatement sums and expenses
in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified
check, bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon an
institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured
hereby shall remain fully effective as ifno acceleration had occurred. However, this right to reinstate
shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial
interest in the Note (together with this Security Instrument) can be sold one or more times without
prior notice to Borrower. A sale might result in a change in the entity (known as the “Loan
Servicer”) that collects Periodic Payments due under the Note and this Security Instrument and
performs other mortgage loan servicing obligations under the Note, this Security Instrument, and
Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the
change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice of
transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer other
than the purchaser of the Note, the mortgage lean servicing obligations to Borrower will remain with
the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note
purchaser unless otherwise provided by the Note purchaser.

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Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as
either an individual litigant or the member of a class) that arises from the other party’s actions
pursuant to this Security Instrument or that alleges that the other party has breached any provision of,
or any duty owed by reason of, this Security Instrument, until such Borrower or Lender has notified
the other party (with such notice given in compliance with the requirements of Section 15) of such
alleged breach and afforded the other party hereto a reasonable period after the giving of such notice
to take corrective action, If Applicable Law provides a time period which must elapse before certain
action can be taken, that time period will be deemed to be reasonable for purposes of this paragraph.

The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the
notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice
and opportunity to take corrective action provisions of this Section 20.

21, Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances” are
those substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental
Law and the following substances: gasoline, kerosene, other flammable or toxic petroleum products,
toxic pesticides and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and
radioactive materials; (b) “Environmental Law” means federal laws and laws of the jurisdiction
where the Property is located that relate to health, safety or environmental protection;
{c) “Environmental Cleanup” includes any response action, remedial action, or removal action, as
defined in Environmental Law; and (d) an “Environmental Condition” means a condition that can
cause, contribute to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
violation of any Environmental Law, (b) which creates an Environmental Condition, or (c) which,
due to the presence, use, or release of a Hazardous Substance, creates a condition that adversely
affects the value of the Property. The preceding two sentences shall not apply to the presence, use,
or storage on the Property of smal! quantities of Hazardous Substances that are generally recognized
to be appropriate to normal residential uses and to maintenance of the Property (including, but not
limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand,
lawsuit or other action by any governmental or regulatory agency or private party involving the
Property and any Hazardous Substance or Environmental Law of which Borrower has actual
knowledge, (6) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and {c) any condition caused by
the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any
private party, that any removal or other remediation of any Hazardous Substance affecting the
Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
with Environmental Law. Nothing herein shall create any obli gation on Lender for an
Environmental Cleanup.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower’s breach of any covenant or agreement in this Security Instrument (but

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not prior to acceleration under Section 18 unless Applicable Law provides otherwise). The
notice shall specify: (a) the default; (b) the action required to cure the default; (c) a date, not
less than 30 days from the date the notice is given to Borrower, by which the default must be
cured; and (d) that failure to cure the default on or befere the date specified in the notice may
result in acceleration of the sums secured by this Security Instrument and sale of the Property.
The notice shall further inform Borrower of the right to reinstate after acceleration and the
right to assert in the foreclosure proceeding the non-existence of a default or any other defense
of Borrower to acceleration and sale. If the default is not cured on or before the date specified
in the notice, Lender at its option may require immediate payment in full of all sums secured
by this Security Instrument without further demand and may invoke the power of sale and any
other remedies permitted by Applicable Law. Lender shall be entitled te collect all expenses
incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the power of sale, and if it is determined in a hearing held in
accordance with Applicable Law that Trustee can proceed to sale, Trustee shall take such
action regarding notice of sale and shall give such notices to Borrower and to other persons as
Applicable Law may require. After the time required by Applicable Law and after
publication of the notice of sale, Trustee, without demand on Borrower, shall sell the Property
at public auction to the highest bidder at the time and place and under the terms designated in
the notice of sale in one or more parcels and in any order Trustee determines. Lender or its
designee may purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee’s deed conveying the Property without
any covenant or warranty, expressed or implied. The recitals in the Trustee’s deed shall be
prima facie evidence of the truth of the statements made therein. Trustee shall apply the
proceeds of the sale in the following order: (a) to all expenses of the sale, including, but not
jimited to, Trustee’s fees of ‘fo of the gross sale price; (b) to all sums secured by this
Security Instrument; and (c} any excess to the person or persons legally entitled to it, The
interest rate set forth in the Note shall apply whether before or after any judgment on the
indebtedness evidenced by the Note.

23, Release. Upon payment of all sums secured by this Security Instrument, Lender or
Trustee shall cancel this Security Instrument. If Trustee is requested to release this Security
Instrument, all notes evidencing debt secured by this Security Instrument shall be surrendered to
Trustee. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing
this Security Instrument, but only if the fee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24, Substitute Trustee. Lender may from time to time remove Trustee and appoint a
suiccessor trustee to any Trustee appointed hereunder by an instrument recorded in the county in
which this Security Instrument is recorded. Without conveyance of the Property, the successor
trustee shall succeed to all the title, power and duties conferred upon Trustee herein and by
Applicable Law.

25. Attorneys’ Fees. Attorneys’ fees must be reasonable.

NORTH CAROLINA--Single Family-Fannie Mac/Freddie Mac UNIFORM INSTRUMENT Form 3034 1/01 (page 15 of 16 pages)
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BK: 00388 PG: 0504

BY SIGNING UNDER SEAL BELOW, Borrower accepts and agrees to the terms and
covenants contained in this Security Instrument and in any Rider executed by Borrower and recorded
with it.

Witnesses: <7 .
Ths Mh, it ee
EMM hail

(Seal)
J «Borrower
ROBERT-¢. GRIFFIN, INDIVIDUALLY AND
AS TRUSTEE OF THE ROBERT J. GRIFFIN
TRUST DATED 12/28/1998

 

 

(Seal)
- Borrower

[Space Below This Line For Acknowledgment}

 

STATE OF FLORIDA
COUNTY OF BREVARD

The foregoing instrument was acknowledged before me this 20™ day of OCTOBER, 2616, by

OBERT J. GRIFFIN, INDIVIDUALLY AND AS TRUSTEE OF THE ROBERT J. GRIFFIN
TRUST DATED 12/28/1998 personally known to me, or has produced Florida Driver’s License
as identification.

 

 
 
 
 

  

LEE BUCHANAN
Notary Public - State of Plorids
te oy My Comm, Expires Sep 4, 2012
ER BRISS — Commission # DO 819997

“HOES” — Bonded Through National Notary Assn.

 
   
   
 

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Notary Public

 

 

NORTH CAROLINA-Single Family—-Fangie Mae/®reddie Mac UNIFORM INSTRUMENT Form 3034 1/1 (page 16 of 16 pages)
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Exhibit A

This exhibit is the property description to a deed of trust by ROBERT J. GRIFFIN, as
Trustee of the Robert J. Griffin Trust dated December 28, 1998, for the benefit of
Kennedy Space Center Federal Credit Union. The property conveyed is in the Alarka
Community, Charleston Township, Swain County, North Carolina, and is shown ona
map of a survey by William R. Howell, PLS, dated November 24, 2008, entitled Robert
James Griffin, drawing number 1019-604-A, recorded in the records of the Register of
Deeds of Swain County, North Carolina in Plat Cabinet 4, slide 2393, and contains
63.049 acres, more or less (the “Survey”). The Survey is incorporated by reference into
this description.

The property conveyed is all of the lands conveyed to Mary E. Chesteine by deed
recorded in Book 144 at page 187, Swain County Registry, being the same as all
of the lands conveyed to Robert J. Griffin, as Trustee of the Robert J. Griffin
Trust dated December 28, 1998, by Marilyn E. Flynn and Brennan B. Chesteine,
acting as Co-Administrators, by deed recorded in Deed Book 368 at page 764,
Swain County Registry

Also conveyed are the easements for water set forth in instruments from Barker to
Nations recorded in the records of the Register of Deeds of Swain County, North
Carolina at Deed Book 87, page 438 and Deed Book 87, page 429.

The above described property is conveyed subject to NCSR 1140 to its full legal
width.

Title to the property conveyed is subject to the following exceptions: Easements,
restrictions and rights of way of record and utilities lines and rights of way in existence
over, under or upon the property conveyed by this deed of trust and exceptions in this
deed of trust or shown on the Survey.

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Dyat bf
Robert J. Griffin, as Trustee

of the Robert J. Griffin
Trust dated December 28, 1998

 
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SECOND HOME RIDER

THIS SECOND HOME RIDER is made this 20TH day of OCTOBER
2010. and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
Security Deed (the “Security Instrument”) of the same date given by the undersigned (the “Borrower,” whether there are one
or more persons undersigned) to secure Borrower's Noteto KENNEDY SPACE CENTER FCU
(the “Lender”) of the same date and covering the Property described in the Security Instrument (the “Property”), which is
located at:

~—fii0  ALARKA ROAD, ERYSON CTTY, NC 28713

[Property Address]

 

in addition to the covenants and agreements made in the Security Instrument, Borrower and Lender further covenant
and agree that Sections 6 and 8 of the Security Instrument are deleted and are replaced by the following:

6. Occupancy. Borrower shall occupy, and shall only use, the Property as Borrower’s second home.
Borrower shall keep the Property available for Borrower’s exclusive use and enjoyment at all times, and
shall not subject the Property to any timesharing or other shared ownership arrangement or to any rental
pool or agreement that requires Borrower either to rent the Property or give a management firm or any other
person any control over the occupancy or use of the Property.

&. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information} in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower's second home.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants . in this Second Home Rider.

Z Lae ef) Lather FH hae te (Seal)

« Borrower

edousli J. GRIFFIN, AN UNMARRIED MAN,
INDIVIDUALLY AND AS TRUSTEE OF THE
ROBERT J. GRIFFIN TRUST DATED 12/28/1998

MULTISTATE SECOND HOME RIDER—Singia Family-Fanaie Mae/Freddic Mac UNIFORM INSTRUMENT Form, 3893 al (page ! of | page)
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STATE OF FLORIDA
COUNTY OF prevarp

CERTIFICATION OF TRUST

NOW COMES, Robert J, Griffin, as Trustee of that certain Robert J. Griffin Trust
dated December 28, 1998, , who pursuant to North Carolina General Statute 36C-10-
1013 authenticates and certifies:

1, There exists a trust created and originally executed on December 28, 1998 in
which the undersigned was designated Trustee for the Robert J. Griffin Trust
dated December 28, 1998.

2. The Settlor of the subject trust is Robert J. Griffin.
3. The undersigned’s address is 6750 Bermuda Ave., Cocoa, Florida 32927.

4, The undersigned has continuously served and is currently serving as the sole
Trustee of the subject Trust with the power alone to sign or authenticate on
behalf of the Trustee of the subject Trust or the subject Trust itself.

>. The undersigned Trustee, pursuant to the aforesaid Trust, has the power to
donate, sell or otherwise convey title to and/or encumber any and all real
property owned or titled in the name of the Trust or in the name of the
undersigned as Trustee of the subject Trust.

6. The subject Trust contains language that would permit its revocation by
Robert J. Griffin as the Settlor thereunder.

7. The undersigned Trustee has the authority to exercise all powers under the
Trust, including, but not limited to, conveying title to real property (by gift or
otherwise) or encumbering title to real property owned or titled in the name of
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the Trust or in the name of the undersigned as Trustee of the subject Trust,
without the consent or authorization of any other person or entity.

8. Title to assets acquired by the Trust shall vest in the name of “Robert J.
Griffin, as Trustee of the Robert J. Griffin Trust dated December 28, 1998”, or
in some jurisdictions in the name of. “The Robert J, Griffin Trust dated
December 28, 1998”.

9. The taxpayer identification number of the Trust is the social security number
of the Settlor and such social security number has been provided to the party
who is relying upon this certificate.

10. The subject Trust has not been revoked, modified, or amended in any manner
that would cause the representations contained in the certification of trust to
be incorrect,

This Certification of Trust is made and executed for the purposes set out section
NCGS 36C-10-1013, and the undersigned understands this certification will be relied
upon by third parties in connection with future ownership of the real property referenced
in Deed Book 368 at page 764, Swain County Registry.

 

Further your affiant saith not.
This 20TH day ofocTOBER__, 2010.
fe i ob aa (SEAL)
fiffin, as ‘Prtistee of the Robert J. Griffin
wi a 6A Decembér 28, 1998
BREVARD. COUNTY _ STATE OF FLORIDA

Signed and sworn to (or affirmed) before me this day by Robert J. Griffin, as Trustee.

Date: 10.20.2010

Official Signature of Notary 7, Li patie.

Notary's printed or typed name: LEE BUCHANAN Notary Public

at i, LEE BUCHANAN }
# Nolary Public - State of Florida
i " My Comm. Expires Sap 4, 2012
ones Commission # DD 819087

Bonded Through National Nolary Asan.

My commission expires:

    
 
  
   

(Official Seal)

 
